Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 1 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 2 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 3 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 4 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 5 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 6 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 7 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 8 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 9 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 10 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 11 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 12 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 13 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 14 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 15 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 16 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 17 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 18 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 19 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 20 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 21 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 22 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 23 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 24 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 25 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 26 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 27 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 28 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 29 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 30 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 31 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 32 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 33 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 34 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 35 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 36 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 37 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 38 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 39 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 40 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 41 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 42 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 43 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 44 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 45 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 46 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 47 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 48 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 49 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 50 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 51 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 52 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 53 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 54 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 55 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 56 of 59
Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 57 of 59
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   Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 58 ofCounty
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                       IN THE SUPERIOR COURT OF FULTON COUNTY
                                   STATE OF GEORGIA

Janet Hill, Michelle Lindsay Bailey, Reginald    )
Wilborn, Bilal Rasheed, and Aaron Graves,        )
                                                 )
       Plaintiffs,                               )           CIVIL ACTION FILE
                                                 )           NO. 2016CV274425
v.                                               )
                                                 )
Mortgage Electronic Registration System, Inc.    )
A/K/A MERSCORP, Inc., Bayview Financial, LP )
A/K/A Bayview Loan Servicing, LLC, Ditech        )
Financial LLC F/K/A Green Tree Servicing, LLC )
Specialized Loan Servicing, LLC, Ellis, Painter, )
Ratterree & Adam, LLP, MCCALLA RAYMER, )
LCC, and The Bank of New York Mellon, as         )
Trustee for Purported CWABS, Inc., CWALT, Inc., )
and CWHEQ Revolving Home Equity Registered )
Loan Trusts,                                     )
                                                 )
       Defendants.                               )
                                                 )

                     VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          COMES NOW Plaintiff Debbie G. Heaton (“Plaintiff”) and, pursuant to O.C.G.A. § 9-11-

41, files this voluntary dismissal without prejudice of all claims contained in the above-referenced

action.

          This 19th day of June, 2018.

                                                     /s/ Grady A. Roberts_________________
                                                     Grady A. Roberts
                                                     Georgia Bar No. 609540
                                                     Attorney for Plaintiff

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   Case 1:21-cv-03750-WMR-CCB Document 5-10 Filed 09/17/21 Page 59 of 59




                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

Janet Hill, Michelle Lindsay Bailey, Reginald    )
Wilborn, Bilal Rasheed, and Aaron Graves,        )
                                                 )
       Plaintiffs,                               )         CIVIL ACTION FILE
                                                 )         NO. 2016CV274425
v.                                               )
                                                 )
Mortgage Electronic Registration System, Inc.    )
A/K/A MERSCORP, Inc., Bayview Financial, LP )
A/K/A Bayview Loan Servicing, LLC, Ditech        )
Financial LLC F/K/A Green Tree Servicing, LLC )
Specialized Loan Servicing, LLC, Ellis, Painter, )
Ratterree & Adam, LLP, MCCALLA RAYMER, )
LCC, and The Bank of New York Mellon, as         )
Trustee for Purported CWABS, Inc., CWALT, Inc., )
and CWHEQ Revolving Home Equity Registered )
Loan Trusts,                                     )
                                                 )
       Defendants.                               )
                                                 )

                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 19, 2017, I electronically filed the foregoing Voluntary

Dismissal Without Prejudice with the Clerk of the Court using the eFileGA/Odyssey System which

will electronically deliver a copy to counsel of record


                                              /s/ Grady A. Roberts_________________
                                              Grady A. Roberts
                                              Georgia Bar No. 609540
                                              Attorney for Plaintiff




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